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.~ " '. ’:: ‘m:-Ln£
The Honorable Ivan L. R. Lemelle ;§§§`<;<54 pp `
U.S. District Judge “ q§§k' \ ~

C-525 U.S. Courthouse
500 Poydras Street

 
   

 

New Orlean, La. 70130 MAR31 mm@
Judg€ lvan L -
March 2 5 , 2 0 0 8 Sewé:'a"eme"°
Re: Terrance E. William v. United States of America

Criminal Docket No. 98-57

The Honorable Lemelle,

It's a pleasure to be writing you concerning this matter.
In which I'm writing in regard of finding closure in my life.
Likewise, I would like to apologize for not being totally
truthful with you. My past decision were mainly becaause I was
young, arrogant, afraid, and just plain ignorant.

As the years have slowly elapsed. l often thought about my
life, and relived my past.As well as how my decision has caused
me grave pain and suffering, which has also effected the lives
of other. Your Honor, my conscience has gotten the best of me.
therefore, I feel its only right that l try to make amends for
my conduct. There's a saying that goes something like this: "We
live, and we learn, and we move on..."However, I can't move on
until I do what's right. `That is coming clean with you
concerning the two murders.

Your Honor, once again after reading my resentencing
hearing transcript page 21 through page 24, II felt the right
thing to do was reach out to the authorities. l have mailed a
letter to the State concerning this homocide, including an
affidavit to Mr. Laudrieu concerning this situation, also I've
spoken with ATF Agent Mike concerning Mr. Benjamin up coming
trial. I've given him information as to why Twin was killed.
Mike wanted me to come and testify, but Mr. Colmann said he
didn't need me.

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Your Honor, I'm very ndndful that you may have heaard
everything a person can possibly say when it comes to asking for
mercy. Therefore, I will not waste your time with many passive
words that one can use. You have my word. I have came clean
concerning everything even the two murders. It's all behind me
now.Please, Your Honor give me a release date. I'm not asking
now, I'm asking when the Rule 35 letter is written to you

concerning a correctional officer that I help to have arrested.

Respectfully submitted

  
    

Terrance E. Williams
25958-034

FCI Jesup D/B Unit
2680 Highway 301 South

Jesup, Georgia 31599

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Keva L. Jones, Esquire
District Attorney Office

1340 Poydras Street 8th Floor
New Orlean, La. 70112

February 29, 2008

Re: Substantial Assistance

Dear Ms.Jones,

May God guide you and set your affairs straight...My name is Terrance E.
Williams, Reg. 25958-034. The nature of this letter is bring to the attention
of The parish or New Orlean that i have some very valuable irrefutable
information concerning two (2) homicides and one attempt murder in which I were
an eye witness to these crimes in October and December 1997.

I witness Colon Cains being murdered on October 8, 1997 and 'Ierrence
Benjamin shot several times. Also in December 1997 I witness Ishmael Fernandez
being murdered.

If your office is interested in filing a writ to bring me back to New
Orlean to testify to these crimes, please let me know. I await your response,
and thank you very kindly! You can contact my attorney at the this address Mr.
Robert P.Early' phone number (504) 451-3313, also his address is 1809 Lake

Superior Drive, Harvey, La. 70058.

Sincerely

 

Terrance E. Williams

25958-034

Federal Correction Institution
2680 Highway 301 South

Jesup, Georgia 31599

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AFFIDAVIT IN SUPPORT
OF SENTENCE REDUCTION

I, Terrance Williams, over 21 years of age and competent
to make this affidavit in support of my forth coming Federal
Rules Criminal procedure, Rule 35§b), that will be filed on
my behalf based on the true facts of the following declarat-
ion. §

l personally witnessed Donald Dyer kill lshmaed Fernandez
in front of my residence located at 2807 Willow Street, New
Orleans, La. This happened on December 26, 1997. I also eye'.
witnessed Alton Patterson shot several rounds into a vehicle
that Terrence Benjamin was driving of which one of the
bullets struck teh victum Colin Cans,

l will testify to these events ina Gourt of Law and
Indictments and Prosecution to solve these two murders.

l understand from my Counsel of Record Robert P. Early
and Maurice Landrieu and from the Office of the United States.‘
Attorney; New Orleans Divisiion, that upon the conviction's
and disposition of these two murders I will be awarded a
Sentence reduction pursant to Fed. Rule 35(b). ln my Case No:
Cr-98-057 (b)xZ USA v Williams of which l am serving a Life
Term.

l declare under the penality of the prejury laws of the
United States of America that the foregoing is true and.correct
to the best of my knowledge pursant to 28 USC 1746.

l futher sayth naught done this ____ day of ' ,
2007. at the Federal,Correctional Complex, YaZoo City, Missi-

ssippi 39194_

Terrence Williams

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Case 2:98

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